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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 WILMER CUTLER PICKERING HALE
 AND DORR LLP,
                               Plaintiff,
                                                         Case No. 1:25-cv-917
                v.
                                                         Judge Richard J. Leon
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,


                               Defendants.


                                      JOINT STATUS REPORT

       Pursuant to this Court’s Memorandum Order of March 28, 2025, the parties respectfully

submit the following Joint Status Report:

       1.      The parties have met and conferred and jointly propose that this Court proceed to

expedited dispositive motions briefing.      Plaintiff intends to move for summary judgment.

Defendants also intend to file a dispositive motion.

       2.      The parties respectfully propose the following briefing schedule:

       Dispositive Motions and Opening Briefs               April 8, 2025
       Amicus Briefs (in support of either side)            April 11, 2025
       Opposition Briefs                                    April 17, 2025
       Oral Argument (if helpful to the Court)              April 21, 2025 (or as soon thereafter
                                                                        as counsel may be heard)

       3.      The parties have agreed that they do not anticipate needing discovery in this case

and that no party will request discovery in connection with the above-referenced dispositive

motions.
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       4.     All parties have also agreed to extend the injunctive relief issued by this Court on

March 28, 2025, until final judgment. See Fed. R. Civ. P. 65(b)(2).

       5.     Based on these agreements, the parties have attached a proposed order governing

further proceedings.


   /s/ Paul D. Clement___________________             CHAD MIZELLE
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WILMER CUTLER PICKERING HALE
 AND DORR LLP,
                                Plaintiff,
                                                          Case No. 1:25-cv-917
                 v.
                                                          Judge Richard J. Leon
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,


                                Defendants.


                       [PROPOSED] ORDER EXTENDING INJUNCTION
                        AND SCHEDULING FURTHER PROCEEDINGS

         The Court has considered the parties’ Joint Status Report (“JSR”) of March 31, 2025. It is

hereby

         ORDERED that the temporary restraining order issued by this Court on March 28, 2025,

[Dkt. #10] shall be EXTENDED by agreement of all parties until final judgment in order to allow

time for the parties to complete briefing on—and this Court to rule on—the contemplated

dispositive motions.

         ORDERED that the parties shall file dispositive motions according to the following

schedule:

         Dispositive Motions and Opening Briefs              April 8, 2025
         Amicus Briefs (in support of either side)           April 11, 2025
         Opposition Briefs                                   April 17, 2025
The time and other details regarding the any motions hearing will be addressed in a separate

scheduling notice.
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       ORDERED that discovery shall be STAYED pending further order of the Court, given

the parties’ agreement that no discovery will be requested in connection with the above-referenced

dispositive motions, see JSR ¶ 3.

       SO ORDERED




                                             RICHARD J. LEON
                                             United States District Judge




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